                                                              United States Bankruptcy Court
                                                                    District of Arizona
In re:                                                                                                                 Case No. 22-02797-BKM
RICARDO JIMENEZ                                                                                                        Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0970-2                                                  User: admin                                                                 Page 1 of 4
Date Rcvd: Aug 03, 2022                                               Form ID: pdf002                                                           Total Noticed: 65
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

++               Addresses marked '++' were redirected to the recipient's preferred mailing address pursuant to 11 U.S.C. § 342(f)/Fed. R. Bank. P. 2002(g)(4).

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Aug 05, 2022:
Recip ID                 Recipient Name and Address
db                     + RICARDO JIMENEZ, 528 W MOUNTAIN SAGE DR, PHOENIX, AZ 85045-0441
16700221                 1st Digital/synovus/vt, Transaction Services, Sioux Falls SD 57118
16700228               + Bk Of Mo/tv, Po Box 84930, Sioux Falls SD 57118-4930
16711384               + CASH TIME TITLE LOANS , INC., 2612 N 16TH ST, PHOENIX , AZ 85006-1403
16700230               + Cash Time Title Loans, Attn: Bankruptcy, 2140 West Camelback Rd, Phoenix AZ 85015-3461
16700237               + DigniFi, Attn: Banktuptcy, Po Box 576, Bellevue WA 98009-0576
16700247               + Fnbo/ccs, Attn: Bankruptcy, Po Box 5081, Sioux Falls SD 57117-5081
16700254               + Hyundai Capital America DBA Kia Finance America, P.O. Box 20825, Fountain Valley, CA 92728-0825
16705030               + MRV Banks, 2700 S Lorraine Place, Sioux Falls, SD 57106-3657
16700255               + Mrv Bk/revvi, Po Box 85800, Sioux Falls SD 57118-5800
16700259               + Seed/cross River Bank, 268 Bush St, San Francisco CA 94104-3503
16705033               + Synovus Bank, 2700 S Lorraine Place, Sioux Falls, SD 57106-3657
16700263               + The Hallstrom Law Firm, 1221 E Osborn Rd Ste 101, Phoenix AZ 85014-5540

TOTAL: 13

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
smg                       Email/Text: bankruptcynotices@azdor.gov
                                                                                        Aug 03 2022 22:36:00      AZ DEPARTMENT OF REVENUE,
                                                                                                                  BANKRUPTCY & LITIGATION, 1600 W.
                                                                                                                  MONROE, 7TH FL., PHOENIX, AZ 85007-2650
cr                     + Email/Text: bankruptcynotices@azdor.gov
                                                                                        Aug 03 2022 22:36:00      ARIZONA DEPARTMENT OF REVENUE, 2005
                                                                                                                  N Central Ave Suite 100, Phoenix, AZ
                                                                                                                  85004-1546
16703479               + Email/Text: bankruptcynotices@azdor.gov
                                                                                        Aug 03 2022 22:36:00      ARIZONA DEPARTMENT OF REVENUE, c/o
                                                                                                                  Tax, Bankruptcy and Coll, 2005 N Central Ave,
                                                                                                                  Suite 100, Phoenix, AZ 85004-1546
16742597               + Email/Text: g20956@att.com
                                                                                        Aug 03 2022 22:37:00      AT&T Mobility II LLC, %AT&T SERVICES
                                                                                                                  INC., KAREN A. CAVAGNARO PARALEGAL,
                                                                                                                  ONE AT&T WAY, SUITE 3A104,
                                                                                                                  BEDMINSTER, NJ. 07921-2693
16700227                  Email/Text: bankruptcynotices@azdor.gov
                                                                                        Aug 03 2022 22:36:00      AZ DEPT OF REVENUE, 1600 W MONROE,
                                                                                                                  Phoenix AZ 85007-2650
16700222               + Email/Text: bankruptcy@acimacredit.com
                                                                                        Aug 03 2022 22:38:00      Acima Credit, 9815 South Monroe Street, 4th
                                                                                                                  Floor, Sandy UT 84070-4384
16700224               + Email/Text: backoffice@affirm.com
                                                                                        Aug 03 2022 22:38:00      Affirm, Inc., Attn: Bankruptcy, 30 Isabella St,
                                                                                                                  Floor 4, Pittsburgh PA 15212-5862
16744009               + Email/PDF: pa_dc_ed@navient.com
                                                                                        Aug 03 2022 22:40:28      Aidvantage on behalf of, Dept of Ed Loan
                                                                                                                  Services, PO BOX 9635, Wilkes-Barre, PA
                                                                                                                  18773-9635
16700226               + Email/Text: bk@avant.com



        Case 2:22-bk-02797-BKM Doc 27 Filed 08/03/22 Entered 08/05/22 21:30:02                                                                      Desc
                             Imaged Certificate of Notice Page 1 of 6
District/off: 0970-2                                         User: admin                                                      Page 2 of 4
Date Rcvd: Aug 03, 2022                                      Form ID: pdf002                                                Total Noticed: 65
                                                                         Aug 03 2022 22:37:00   Avant/WebBank, 222 North Lasalle Street, Suite
                                                                                                1600, Chicago IL 60601-1112
16750295        + Email/Text: bkattorneynotices@gmail.com
                                                                         Aug 03 2022 22:37:00   Brandon S. Lefkowitz, 29777 Telegraph Road,
                                                                                                Suite 2440, Southfield, MI 48034-7667
16700231        + Email/Text: bankruptcy.notifications@fisglobal.com
                                                                         Aug 03 2022 22:37:00   CHEX SYSTEMS, ATTN: CUSTOMER
                                                                                                RELATIONS, 7805 HUDSON RD #100, Saint
                                                                                                Paul MN 55125-1703
16741294           Email/PDF: bncnotices@becket-lee.com
                                                                         Aug 03 2022 22:51:30   CONN APPLIANCES, INC., C/O BECKET AND
                                                                                                LEE LLP, PO BOX 3002, MALVERN PA
                                                                                                19355-0702
16700233           Email/Text: cfcbackoffice@contfinco.com
                                                                         Aug 03 2022 22:37:00   Continental Finance Company, Attn: Bankruptcy,
                                                                                                Po Box 3220, Buffalo NY 14240
16700235        ^ MEBN
                                                                         Aug 03 2022 22:35:34   CSC CREDIT SERVICES, BOX 740040, Atlanta
                                                                                                GA 30374-0040
16700229        + Email/PDF: AIS.cocard.ebn@aisinfo.com
                                                                         Aug 03 2022 22:40:58   Capital One, Attn: Bankruptcy, P.O. Box 30285,
                                                                                                Salt Lake City UT 84130-0285
16700232        + Email/Text: bankruptcynotices@conns.com
                                                                         Aug 03 2022 22:36:00   Conn's HomePlus, 2445 Technology Forest
                                                                                                Boulevard, Building 4, Suite 800, The Woodlands
                                                                                                TX 77381-5263
16700234        + Email/PDF: creditonebknotifications@resurgent.com
                                                                         Aug 03 2022 22:41:03   Credit One Bank, Attn: Bankruptcy Department,
                                                                                                Po Box 98873, Las Vegas NV 89193-8873
16700236        + Email/PDF: MerrickBKNotifications@Resurgent.com
                                                                         Aug 03 2022 22:40:54   Cws/cw Nexus, Attn: Card Services, Po Box 9201,
                                                                                                Old Bethpage NY 11804-9001
16700238        ^ MEBN
                                                                         Aug 03 2022 22:35:10   EQUIFAX INFORMATION SERIVICES, LLC,
                                                                                                PO BOX 740256, Atlanta GA 30374-0256
16700239        ^ MEBN
                                                                         Aug 03 2022 22:35:09   EXPERIAN, PO BOX 9701, Allen TX
                                                                                                75013-9701
16700242           Email/Text: BNSFN@capitalsvcs.com
                                                                         Aug 03 2022 22:37:00   First National Bank/Legacy, Attn: Bankruptcy, Po
                                                                                                Box 5097, Sioux Falls SD 57117
16700243        + Email/PDF: ais.fpc.ebn@aisinfo.com
                                                                         Aug 03 2022 22:41:03   FIRST PREMIER BANK, P.O. BOX 5524, 3820
                                                                                                N. LOUISE AVENUE, Sioux Falls SD
                                                                                                57107-0145
16700245           Email/Text: BNSFS@capitalsvcs.com
                                                                         Aug 03 2022 22:37:00   First Savings Bank, Attn: Bankruptcy, P.O. Box
                                                                                                5019, Sioux Falls SD 57117
16700246           Email/Text: BNBLAZE@capitalsvcs.com
                                                                         Aug 03 2022 22:37:00   First Savings Bank/Blaze, Attn: Bankruptcy, Po
                                                                                                Box 5096, Sioux Falls SD 57117
16762543        + Email/Text: bankruptcy@flexshopper.com
                                                                         Aug 03 2022 22:37:00   FLEXSHOPPER, LLC, 901 Yamato Rd Ste 260,
                                                                                                901 Yamato Rd Ste 260, Boca Raton, FL
                                                                                                33431-4415
16750296        + Email/Text: opportunitynotices@gmail.com
                                                                         Aug 03 2022 22:37:00   FinWise Bank, c/o Opportunity Financial, LLC,
                                                                                                130 E. Randolph Street, Suite 3400, Chicago, IL
                                                                                                60601-6379
16700241        + Email/Text: opportunitynotices@gmail.com
                                                                         Aug 03 2022 22:37:00   FinWise Bank/Opp Loans, Attn: Bankruptcy, 130
                                                                                                E Randolph St, Ste 3400, Chicago IL 60601-6379
16700240        + Email/Text: bnc-bluestem@quantum3group.com
                                                                         Aug 03 2022 22:37:00   Fingerhut, Attn: Bankruptcy, 6250 Ridgewood
                                                                                                Road, Saint Cloud MN 56303-0820
16700248        + Email/Text: Atlanticus@ebn.phinsolutions.com
                                                                         Aug 03 2022 22:37:01   Fortiva, Attn: Bankruptcy, Po Box 105555, Atlanta
                                                                                                GA 30348-5555
16700250        + Email/Text: GenesisFS@ebn.phinsolutions.com
                                                                         Aug 03 2022 22:38:01   Genesis FS Card Services, Attn: Bankruptcy, Po
                                                                                                Box 4477, Beaverton OR 97076-4401
16700251           Email/Text: sbse.cio.bnc.mail@irs.gov
                                                                         Aug 03 2022 22:37:00   IRS, CENTRALIZED INSOLVENCY
                                                                                                OPERATIONS, PO BOX 7346, Philadelphia PA
                                                                                                19101-7346
16720931        + Email/Text: gbechakas@outlook.com



       Case 2:22-bk-02797-BKM Doc 27 Filed 08/03/22 Entered 08/05/22 21:30:02                                                   Desc
                            Imaged Certificate of Notice Page 2 of 6
District/off: 0970-2                                              User: admin                                                              Page 3 of 4
Date Rcvd: Aug 03, 2022                                           Form ID: pdf002                                                        Total Noticed: 65
                                                                                   Aug 03 2022 22:37:00     Intercoastal Financial Llc, 7954 Transit Rd #136,
                                                                                                            Williamsville, NY 14221-4117
16740327                 Email/Text: JCAP_BNC_Notices@jcap.com
                                                                                   Aug 03 2022 22:37:00     Jefferson Capital Systems LLC, Po Box 7999,
                                                                                                            Saint Cloud MN 56302-9617
16700252                 Email/Text: JCAP_BNC_Notices@jcap.com
                                                                                   Aug 03 2022 22:37:00     Jefferson Capital Systems, LLC, Attn: Bankruptcy,
                                                                                                            16 Mcleland Road, Saint Cloud MN 56303
16739307                 Email/PDF: resurgentbknotifications@resurgent.com
                                                                                   Aug 03 2022 22:41:20     LVNV Funding, LLC, Resurgent Capital Services,
                                                                                                            PO Box 10587, Greenville, SC 29603-0587
16752010              + Email/Text: bncmail@w-legal.com
                                                                                   Aug 03 2022 22:37:00     Landmark Strategy Group, LLC, C/O
                                                                                                            WEINSTEIN & RILEY, PS, 2001 WESTERN
                                                                                                            AVENUE, STE 400, SEATTLE, WA 98121-3132
16726865                 Email/PDF: MerrickBKNotifications@Resurgent.com
                                                                                   Aug 03 2022 22:40:58     MERRICK BANK, Resurgent Capital Services,
                                                                                                            PO Box 10368, Greenville, SC 29603-0368
16753769              + Email/Text: bankruptcy@ncaks.com
                                                                                   Aug 03 2022 22:36:00     National Credit Adjusters, LLC, Attn: Bankruptcy
                                                                                                            Department, P.O. Box 3023, Hutchinson, KS
                                                                                                            67504-3023
16700256              + Email/PDF: pa_dc_claims@navient.com
                                                                                   Aug 03 2022 22:41:00     Navient Solutions Inc, Attn: Bankruptcy, P.O. Box
                                                                                                            9500, Wilkes-Barre PA 18773-9500
16752616                 Email/PDF: PRA_BK2_CASE_UPDATE@portfoliorecovery.com
                                                                         Aug 03 2022 22:41:03               Portfolio Recovery Associates, LLC, POB 12914,
                                                                                                            Norfolk VA 23541
16731061              + Email/Text: documentfiling@lciinc.com
                                                                                   Aug 03 2022 22:36:00     Plaza Services, LLC, PO BOX 1931, Burlingame,
                                                                                                            CA 94011-1931
16718522              + Email/Text: JCAP_BNC_Notices@jcap.com
                                                                                   Aug 03 2022 22:37:00     Premier Bankcard, LLC, Jefferson Capital Systems
                                                                                                            LLC Assignee, Po Box 7999, Saint Cloud MN
                                                                                                            56302-7999
16700258              + Email/PDF: RACBANKRUPTCY@BBANDT.COM
                                                                                   Aug 03 2022 22:51:34     Regional Acceptance Company, Attn: Bankruptcy,
                                                                                                            P.O. Box 1487, Wilson NC 27894-1487
16715264                 Email/PDF: RACBANKRUPTCY@BBANDT.COM
                                                                                   Aug 03 2022 22:51:34     Regional Acceptance Corporation, PO Box 1847,
                                                                                                            Wilson, NC 27894-1847
16700260                 Email/Text: credit-bureau-reporting-disputes@sezzle.com
                                                                                   Aug 03 2022 22:36:00     Sezzle, Attn: Bankruptcy, Po Box 3320,
                                                                                                            Minneapolis MN 55403
16700264              ^ MEBN
                                                                                   Aug 03 2022 22:35:04     TRANS UNION, PO BOX 1000, Crum Lynne PA
                                                                                                            19022
16700261              + Email/Text: bncmail@w-legal.com
                                                                                   Aug 03 2022 22:37:00     Target Nb, C/O Financial & Retail Services,
                                                                                                            Mailstop BT PO Box 9475, Minneapolis MN
                                                                                                            55440-9475
16700262              + Email/Text: Atlanticus@ebn.phinsolutions.com
                                                                                   Aug 03 2022 22:37:01     Tbom/Atls/Aspire, Attn: Bankruptcy, Po Box
                                                                                                            105555, Atlanta GA 30348-5555
16705027              + Email/Text: bknotices@totalcardinc.com
                                                                                   Aug 03 2022 22:37:00     The Bank of Missouri, 2700 S Lorraine Place,
                                                                                                            Sioux Falls, SD 57106-3657
16700265              + Email/Text: LCI@upstart.com
                                                                                   Aug 03 2022 22:37:00     Upstart Finance, Attn: Bankruptcy, Po Box 1503,
                                                                                                            San Carlos CA 94070-7503
16744533                 Email/PDF: ebn_ais@aisinfo.com
                                                                                   Aug 03 2022 22:41:06     Verizon, by American InfoSource as agent, PO
                                                                                                            Box 4457, Houston, TX 77210-4457
16700266              + Email/Text: bnc-bluestem@quantum3group.com
                                                                                   Aug 03 2022 22:37:00     Webbank/Gettington, Attn: Bankruptcy, 6250
                                                                                                            Ridgewood Road, Saint Cloud MN 56303-0820

TOTAL: 52


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID        Bypass Reason Name and Address



        Case 2:22-bk-02797-BKM Doc 27 Filed 08/03/22 Entered 08/05/22 21:30:02                                                               Desc
                             Imaged Certificate of Notice Page 3 of 6
District/off: 0970-2                                               User: admin                                                           Page 4 of 4
Date Rcvd: Aug 03, 2022                                            Form ID: pdf002                                                     Total Noticed: 65
16700223        *+               Acima Credit, 9815 South Monroe Street, 4th Floor, Sandy UT 84070-4384
16700225        *+               Affirm, Inc., Attn: Bankruptcy, 30 Isabella St, Floor 4, Pittsburgh PA 15212-5862
16700244        *+               FIRST PREMIER BANK, P.O. BOX 5524, 3820 N. LOUISE AVENUE, Sioux Falls SD 57107-0145
16700249        *+               Fortiva, Attn: Bankruptcy, Po Box 105555, Atlanta GA 30348-5555
16700253        *P++             JEFFERSON CAPITAL SYSTEMS LLC, PO BOX 7999, SAINT CLOUD MN 56302-7999, address filed with court:, Jefferson
                                 Capital Systems, LLC, Attn: Bankruptcy, 16 Mcleland Road, Saint Cloud MN 56303
16700257        *+               Navient Solutions Inc, Attn: Bankruptcy, P.O. Box 9500, Wilkes-Barre PA 18773-9500

TOTAL: 0 Undeliverable, 6 Duplicate, 0 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Aug 05, 2022                                        Signature:          /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on August 3, 2022 at the address(es) listed
below:
Name                             Email Address
MATTHEW ALLEN SILVERMAN
                      on behalf of Creditor ARIZONA DEPARTMENT OF REVENUE matthew.silverman@azag.gov
                      BankruptcyUnit@azag.gov,hua.qin@azag.gov,michelle.schlosser@azag.gov

Matthew Scott Fankhauser
                                 on behalf of Debtor RICARDO JIMENEZ office@azlawyer.net matt@azlawyer.net

RUSSELL BROWN
                                 on behalf of Trustee RUSSELL BROWN ecfmailclient@ch13bk.com

RUSSELL BROWN
                                 ecfmailclient@ch13bk.com

U.S. TRUSTEE
                                 USTPRegion14.PX.ECF@USDOJ.GOV


TOTAL: 5




        Case 2:22-bk-02797-BKM Doc 27 Filed 08/03/22 Entered 08/05/22 21:30:02                                                             Desc
                             Imaged Certificate of Notice Page 4 of 6
                                                                       ORDERED ACCORDINGLY.


                                                                        Dated: August 3, 2022


    1

    2
                                                                        _________________________________
                                                                        Brenda K. Martin, Bankruptcy Judge
    3

    4

    5

    6
                                      UNITED STATES BANKRUPTCY COURT
    7
                                               DISTRICT OF ARIZONA
    8
         In re
    9                                                         Chapter 13
         RICARDO JIMENEZ,
   10                                                         Case No. 2-22-bk-02797 BKM
                                         Debtor.              ORDER DISMISSING CASE
   11

   12

   13

   14                 The Trustee having notified the Court that the Debtor failed to fileKLV
   15
        DQG  VWDWH LQFRPH WD[ UHWXUQV 32&   DQG    DQG
   16
         IHGHUDO LQFRPH WD[ UHWXUQV 32&   as required by Local Rule 2084-5, the Court
   17
                                      ILQGVFDXVHIRUGLVPLVVLQJWKHFDVHSXUVXDQWWR86& H 
   18
           NOW, THEREFORE, IT IS ORDERED:
   19

   20
           (A) This case is dismissed and the Clerk of the Court will give notice of the dismissal to all
         parties in interest;
   21
             (B) A motion to reinstate the case may be granted without a hearing if the Trustee approves
   22
         the proposed reinstatement order. If the Trustee does not approve of reinstatement of the case,
   23
         the matter may be set for hearing upon the Debtor's motion. The Court may set a hearing on any
   24
         motion to reinstate on the request of an interested party who had joined the Trustee's request for
   25
         dismissal;
   26




Case 2:22-bk-02797-BKM Doc 27 Filed 08/03/22 Entered 08/05/22 21:30:02                                        Desc
                     Imaged Certificate of Notice Page 5 of 6
    1
           (C) Pursuant to 11 U.S.C. § 586(e)(2), the Trustee collected the statutory percentage fee
    2
        from all payments received and paid monthy actual, necessary expenses as such fee was
    3
        collected.
    4
           (D) If the Chapter 13 Plan contains an application for payment of administrative expenses
    5
        and no party in interest filed an objection to the application, then the counsel for the Debtor
    6
        may lodge an order approving the application within 10 calendar days after the Court enters this
    7
        Dismissal Order. Alternatively, counsel for the Debtor has 10 calendar days after the Court
    8
        enters this Dismissal Order to file and notice out a separate fee application. If the attorney for
    9
        the Debtor fails to timely lodge such Order or file a fee application, the Trustee may pay out the
   10
        funds on hand according to this Order;
   11
           (E) The Trustee is to pay from the funds on hand conduit mortgage payments and any
   12
        adequate protection payments previously ordered by the Court or as provided in Local Rule
   13
        2084-6, then to any allowed administrative expenses. If there is an insufficient amount of funds
   14
        on hand to pay conduit mortgage payments and adequate protection payments, then the Trustee
   15
        shall pay such amounts pro rata. After payment of conduit mortgage payments, adequate
   16
        protection payments, and administrative expenses, the Trustee will return any remaining funds
   17
        to the Debtor.
   18

   19

   20                      ORDER SIGNED AND DATED ON PAGE ONE
   21

   22

   23

   24

   25

   26




                                                            2                                    In re Jimenez
                                                                                  Case No. 2-22-bk-02797 BKM
                                                                                        Order Dismissing Case

Case 2:22-bk-02797-BKM Doc 27 Filed 08/03/22 Entered 08/05/22 21:30:02                                           Desc
                     Imaged Certificate of Notice Page 6 of 6
